Samsung Galaxy S8+ -- January 28, 2019

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Land Between the Lakes
National Recreation

Area - National forest
238 Visitor Center Dr
Golden Pond, KY 42211 UPL UPL MCR PAPO aii (Onion)
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Case 3:23-cr-00014-DJH Document 92-3 Filed 11/13/23 Page 1 of 3 PagelD #: 806
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PLP rane DOL (agen })
WPL PLN Wiese wa ne
Wired be Nsye Uwe TM ay (QU Kent :))
PLIPLP Cire Li ol On eer ))
Pa PLip eee: wa Oe :))
UPL PAP ese PAR BELA (Un Reet :))
WP PL CE AOL TEAC (UAE Gets)
SUPA Plib che CMa a(n Kees)
, UPL IPA t7a sera Un eae)
PEPER AE aa UK UPI Pla Re Keel a ii
WEL PU: vars ea (Ui een })
WPL Pain Mee ees och CO aned
WPA: VPA ee PSP a CO) ee <))
UPL PAUB CMON: ee (ON Kee s))
PLY RA eT Miya CORO sie Wire: Vidi p cle se hy ayan 1.1 ((00K Gae:))
UPL y PLD ce KPa a (ON Kets) eee Wire rai) ee ral COR eet)
WEA PA) caper ae tea nh ae)
PAY PAOp cS HIPAA (CO Ges)

Lae

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OE Mot SME dic LUE PIN CBE CELA A (UK)
WEWPLOC RCE Tan)
WEL PLN ereT ra Need)

PEELS CGS EAM AN Uke) ite
WEPLS CULE RIVAL RaR SSN Geectulnoe nsec te beter ea aL Sah)

SW lepers tb he Riya ee Geld (CO eo) ER TEEG bac P sey en Ge)
WL rt0n Be We Bir. dec Bs dT eer oy)
WTO PAND RIAU oe Dh dU Oe)
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23-cr-00014-DJH Document 92-3 Filed 11/13/23 Page 3 of 3 PagelD #

Case 3

